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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
———————————————————-X                                       Case #: 24-cv-1766 (NJC)(ST)
LISA PANZICA, Individually and on Behalf of
All Others Similarly Situated,
                                                            ANSWER
                                      Plaintiff(s)
        - against -

PETTIT PLACE REALTY L.L.C. and OCEAN-                       JURY TRIAL DEMANDED
CLEAR INC.,

               Defendants.
———————————————————-X


       Defendants, PETTIT PLACE REALTY L.L.C. and OCEAN-CLEAR INC., by and

through their counsel, Thomas R. Sofield, Esq., from Thomas R. Sofield, PC, hereby answer the

Complaint in this action, dated March 1, 2024 and filed March 10, 2024, as follows:

       1.      Deny the allegations contained in paragraph 1 of the complaint.

       2.      The allegations continued in paragraph 2 of the complaint set forth the nature of

plaintiff’s claim and legal conclusions requiring no substantive response; however, to the extent

any response is required, deny the allegations contained in paragraph 2 of the complaint and

respectfully leave all conclusions of law to this Honorable Court.

       3.      The allegations continued in paragraph 3 of the complaint set forth the nature of

plaintiff’s claim and require no substantive response; however, to the extent any responses

required, deny or deny knowledge and information sufficient to to form a belief as to the truth of

the allegations contained in paragraph 3 of the complaint and respectfully leave all conclusions

of law to this Honorable Court.
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       4.      The allegations contained in paragraphs 4, 5, 6, 7, 81, and 82 of the complaint set

forth legal conclusions requiring no substantive response; however, to the extent any responses

are required, deny the allegations contained in those paragraphs and respectfully leave all

conclusions of law to this Honorable Court, except admit that this Court is the proper venue and

has jurisdiction over the subject matter and all parties to this action.

       5.      Deny knowledge or information sufficient to form a belief as to the truth of the

allegations contained in paragraphs 8, 28, 31, 32, 33, 34, 35, 36, 37, 38, 39, 40, 41, 42, 43, 44,

45, 46, 48, 50, 51, 52, 53, 80 and 96.

       6.      Deny the allegations set forth in paragraph 9, 10, and 11, except admit that

defendants are New York corporations authorized to do business in the State of New York, and

that Jordan Lobster Farm is an assumed name.

       7.      Deny the allegations contained in paragraphs 12, 29, 30, 55, and 56, except admit

that Jordan Lobster Farm occupies certain real property located 1 Pettit Place, Island Park, NY.

       8.      The allegations continued in paragraphs 13, 14, 16, 17, 18, 19, 20, 21, 22, 23, 24,

25, 26 and 27 set forth the nature of plaintiff’s claim, allegations of applicable law and legal

conclusions requiring no substantive response; however, to the extent any response is required,

deny the allegations contained in those paragraphs of the complaint and respectfully leave all

conclusions of law to this Honorable Court.

       9.      Deny the allegations contained in paragraph 15 and respectfully refer the Court to

the “census” referenced in paragraph 15 for the true content and meaning thereof.




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       10.     Deny the allegations contained in paragraphs 47, 49, 54 through 78, 83 through

89, 91 through 94, 97, 98, 99 and 101 through 105 and leave all conclusions of law to this

Honorable Court.

       11.     With respect to the allegations contained in paragraphs 79, 90, 95 and 100

defendants hereby repeat and re-allege all responses as if set forth at length.

              AS AND FOR DEFENDANTS’ FIRST AFFIRMATIVE DEFENSE

       12.     The Complaint fails to state a claim upon which relief can be granted.

             AS AND FOR DEFENDANTS’ SECOND AFFIRMATIVE DEFENSE

       13.     Plaintiff lacks standing because Plaintiff was not deterred from visiting the

premises, nor can Plaintiff establish intent to visit the premises in the future.

              AS AND FOR DEFENDANTS’ THIRD AFFIRMATIVE DEFENSE

       14.     The Plaintiff's claims are barred by the statute of limitations because Plaintiff did

not visit, nor was not deterred from visiting within the two years before the Complaint was filed.

             AS AND FOR DEFENDANTS’ FOURTH AFFIRMATIVE DEFENSE

       15.     The facility has not been altered to affect the usability of the facility since it

opened, and removal of the alleged barriers is not readily achievable.

              AS AND FOR DEFENDANTS’ FIFTH AFFIRMATIVE DEFENSE

       16.     Defendants provided adequate access to the business to persons with disabilities

by using methods such as customer service.

              AS AND FOR DEFENDANTS’ SIXTH AFFIRMATIVE DEFENSE

       17.     Plaintiff’s requested modifications to the business would pose an undue burden on

Defendants.


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              AS AND FOR DEFENDANTS’ SEVENTH AFFIRMATIVE DEFENSE

        18.      Plaintiff’s requested modifications would fundamentally alter the services and

facilities.

               AS AND FOR DEFENDANTS’ EIGHTH AFFIRMATIVE DEFENSE

        19.      The premises comply with the requirements of the Americans with disabilities act,

as well as all applicable state and city laws.

               AS AND FOR DEFENDANTS’ NINETH AFFIRMATIVE DEFENSE

        20.      Defendant did not breach any duty owed to the plaintiff, and had no actual or

constructive notice that the premises were not accessible to the disabled.

               AS AND FOR DEFENDANTS’ TENTH AFFIRMATIVE DEFENSE

        21.      The modifications alleged in the complaint are not readily achievable no

architectural barriers exist of the premises which prevent or restrict access to the plaintiff.

              AS AND FOR DEFENDANTS’ ELEVENTH AFFIRMATIVE DEFENSE

        22.      The premises has provided reasonable accommodations that comply with the

requirement's of the Americans with disabilities act, as well as all applicable state and city laws.

              AS AND FOR DEFENDANTS’ TWELFTH AFFIRMATIVE DEFENSE

        23.      The barriers to access at the premises set forth by plaintiff in the complaint lack

merit and have no basis in fact or law.

         AS AND FOR DEFENDANTS’ THIRTEENTH AFFIRMATIVE DEFENSE

        24.      The complaint fails to meet the criteria and standards for a class action or

classification under applicable law, including the federal rules of civil procedure.




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        AS AND FOR DEFENDANTS’ FOURTEENTH AFFIRMATIVE DEFENSE

        25.    The plaintiff failed to give defendant and/or other parties the predicate notice

required by applicable law to commence and maintain this action.

            AS AND FOR DEFENDANTS’ FIFTEENTH AFFIRMATIVE DEFENSE

        26.    The alterations in and to the premises are not physically possible, or impracticable

and are structurally impractical ball.

            AS AND FOR DEFENDANTS’ SIXTEENTH AFFIRMATIVE DEFENSE

        27.    The alterations proposed by the plaintiff or not readily achievable, cannot be

accomplished and our unduly burdensome.

       AS AND FOR DEFENDANTS’S SEVENTEENTH AFFIRMATIVE DEFENSE

        28.    The alterations proposed by plaintiff are not reasonable and are not economically

feasible.

        AS AND FOR DEFENDANTS’ EIGHTEENTH AFFIRMATIVE DEFENSE

        29.    Some or all of the alterations proposed by plaintiff are not permitted by applicable

law.




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       WHEREFORE, defendants pray for an order of this court dismissing this action in its

entirety and granting defendants judgment on their affirmative defenses against the plaintiff and

for such other and further relief as to this Court seems just and proper.

Dated: Long Beach, NY
       June 1, 2024

                                                              Respectfully submitted,

                                                              Thomas R. Sofield, P.C.
                                                              Attorneys for Defendants
                                                              By:

                                                              ____________________
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